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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,



                                        Plaintiff,

                                                                        ORDER

                                                                        05-CR-6161L

                        v.

CHARLES SCHWAB, JOHN NICOLO,
DAVID FINNMAN and CONSTANCE ROEDER,



                              Defendants.
________________________________________________


        I have defendant John Nicolo’s motion for a 3-month continuance (Dkt. #170), which was

filed February 26, 2008. Based on two letters, there is insufficient basis to grant the relief requested,

at this late date.

        If defendant wishes to supplement his application, he must do so at a hearing, the week of

March 3, 2008. The afternoons of March 3, 4 and 5, 2008 could be made available. Mr. Nicolo and

his physicians are to be prepared to testify at that hearing. Also, Mr. Nicolo must execute a release

of his medical records for review by the Court, the Government, and a physician of the

Government’s choosing. Mr. Nicolo must also be prepared to submit to a medical examination, if

requested by the Government.
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       Defendant John Nicolo, through his attorney, is hereby directed to contact my chambers to

schedule this hearing.

       IT IS SO ORDERED.



                                    _______________________________________
                                             DAVID G. LARIMER
                                           United States District Judge


Dated: Rochester, New York
       February 27, 2008.




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